                            In the Matter Of:

           KULAKOWSKI vs WESTROCK SERVICES




                             LARRY EDEN

                           November 09, 2017




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· · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · FOR THE MIDDLE DISTRICT OF TENNESSEE
· · · · · · · · ·NASHVILLE DIVISION




MICHAEL KULAKOWSKI,· · · · · · · · )
· · · · · · · · · · · · · · · · · ·)
· · ·Plaintiff,· · · · · · · · · · )
· · · · · · · · · · · · · · · · · ·)
vs.· · · · · · · · · · · · · · · · )CASE NO.
· · · · · · · · · · · · · · · · · ·)3:16-CV-02510
· · · · · · · · · · · · · · · · · ·)
WESTROCK SERVICES, INC.,· · · · · ·)
· · · · · · · · · · · · · · · · · ·)
· · ·Defendant.· · · · · · · · · · )
_________________________________




· · · · · · · · · · DEPOSITION OF

· · · · · · · · · LARRY LLOYD EDEN

· · · · · Taken on Behalf of the Defendant

· · · · · · · · · November 9, 2017

· · · · · · · ·Commencing at 1:05 p.m.




__________________________________________________



Reported by:· Jerri L. Porter, RPR, CRR
Tennessee LCR No. 335
Expires:· 6/30/2018




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·1·   APPEARANCES:                                                    ·1· · · · · · · ·The deposition of LARRY LLOYD EDEN was
·2·   For the Plaintiff:                                              ·2· taken on behalf of the Defendant on November 9,
·3·   · · · · ·HEATHER MOORE COLLINS
                                                                      ·3· 2017, in the offices of Bone, McAllester & Norton,
· ·   · · · · ·Collins & Hunter
·4·   · · · · ·7000 Executive Center Drive                            ·4· 131 Saundersville Road, Suite 130, Hendersonville,
· ·   · · · · ·Building 2, Suite 320                                  ·5· Tennessee, for all purposes under the Federal Rules
·5·   · · · · ·Brentwood, Tennessee· 37027
                                                                      ·6· of Civil Procedure.
· ·   · · · · ·(615) 724-1996
·6·   · · · · ·heather@collinshunter.com                              ·7· · · · · · · ·The formalities as to notice, caption,
·7                                                                    ·8· certificate, et cetera, are waived.· All objections,
· ·   For the Defendant:
                                                                      ·9· except as to the form of the questions, are reserved
·8
· ·   ·   ·   ·   ·   ·MARY DOHNER SMITH                              10· to the hearing.
·9·   ·   ·   ·   ·   ·Constangy, Brooks, Smith & Prophete            11· · · · · · · ·It is agreed that Jerri L. Porter,
· ·   ·   ·   ·   ·   ·1010 SunTrust Plaza
                                                                      12· being a Notary Public and Court Reporter for the
10·   ·   ·   ·   ·   ·401 Commerce Street
· ·   ·   ·   ·   ·   ·Nashville, Tennessee· 37219                    13· State of Tennessee, may swear the witness, and that
11·   ·   ·   ·   ·   ·(615) 320-5200                                 14· the reading and signing of the completed deposition
· ·   ·   ·   ·   ·   ·mdohner@constangy.com
                                                                      15· by the witness are reserved.
12
13                                                                    16
14                                                                    17
15
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16
17                                                                    19
18                                                                    20
19                                                                    21· · · · · · · · · · · · · * * *
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22                                                                    23
23                                                                    24
24
                                                                      25
25

                                                             Page 3                                                             Page 5
·1· · · · · · · · · · · · I N D E X                                   ·1·   · · · · · · · · · LARRY LLOYD EDEN
·2· · · · · · · · · INDEX OF EXAMINATIONS                             ·2·   was called as a witness, and after having been first
·3· · · · · · · · · · · · · · · · · · · · · · · · · Page              ·3·   duly sworn, testified as follows:
·4· Examination By Ms. Collins ........................5
                                                                      ·4·   · · · · · · · · E X A M I N A T I O N
·5· Examination By Ms. Dohner Smith ..................50
                                                                      ·5·   BY MS. COLLINS:
·6· Examination By Ms. Collins .......................53
                                                                      ·6·   Q· · · ·Good morning.
·7
                                                                      ·7·   A· · · ·Good morning.
·8
                                                                      ·8·   Q· · · ·Could you state your complete name off the
·9· · · · · · · ·PREVIOUSLY MARKED EXHIBITS
                                                                      ·9·   record.
· · · · · · · · · · PRESENTED TO WITNESS
                                                                      10·   A· · · ·Larry Lloyd Eden.
10
                                                                      11·   Q· · · ·Okay.· So it's Eden, not Edens?
11· Exhibit· · · · Description· · · · · · · · · · · Page
12· No. 4· · 2011 RockTenn Employee Handbook .........47
                                                                      12·   A· · · ·E-d-e-n, Eden.
13
                                                                      13·   Q· · · ·Mr. Eden, what is your address?
14                                                                    14·   A· · · ·1725 -- my home address, 1725 Crenshaw Lane.
15                                                                    15·   Q· · · ·What city?
16                                                                    16·   A· · · ·Hartsville, Tennessee.
17                                                                    17·   Q· · · ·And what's the zip code?
18                                                                    18·   A· · · ·37074.
19                                                                    19·   Q· · · ·What is your phone number?
20                                                                    20·   A· · · ·(615)202-0437.
21                                                                    21·   Q· · · ·Okay.· Does anyone over the age of 18 live
22                                                                    22·   with you at that address?
23                                                                    23·   A· · · ·No.
24                                                                    24·   Q· · · ·Okay.
25                                                                    25·   A· · · ·But my wife.


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·1·   Q· · · ·Oh, okay.· What's her first name?               ·1·   A· · · ·He was customer service manager.
·2·   A· · · ·Debbie.                                         ·2·   Q· · · ·Okay.· What plant do you primarily work at?
·3·   Q· · · ·Is her last name Eden as well?                  ·3·   A· · · ·1211 Hartsville Pike.
·4·   A· · · ·Eden.                                           ·4·   Q· · · ·Is that the fulfillment center?
·5·   Q· · · ·And the spelling of her name is --              ·5·   A· · · ·No.· That's the main plant.
·6·   A· · · ·D-e-b-b-i-e.                                    ·6·   Q· · · ·Have you always been at the main plant?
·7·   Q· · · ·Okay.· Mr. Eden, where do you currently         ·7·   A· · · ·Yes, ma'am.
·8·   work?                                                   ·8·   Q· · · ·As I understand it, the main plant is about
·9·   A· · · ·With WestRock.                                  ·9·   six miles away from the fulfillment center.
10·   Q· · · ·Okay.                                           10·   A· · · ·Yes, ma'am.
11·   A· · · ·In Gallatin.                                    11·   Q· · · ·When you were plant manager -- well, how
12·   Q· · · ·How long have you been with WestRock in         12·   long were you plant manager?
13·   Gallatin?                                               13·   A· · · ·I think around 10, 12 years.
14·   A· · · ·Forty-three years, I believe.                   14·   Q· · · ·And was that at the main plant?
15·   Q· · · ·What is your current job title?                 15·   A· · · ·Yes.
16·   A· · · ·Shipping manager.                               16·   Q· · · ·Okay.· But did you still have
17·   Q· · · ·How long have you been in that job/role?        17·   responsibilities over the fulfillment center?
18·   A· · · ·Since June of this year.                        18·   A· · · ·Not at the beginning.· Later on, yes.
19·   Q· · · ·What was your job title before that?            19·   Q· · · ·Who hired you as plant manager?
20·   A· · · ·Plant manager.                                  20·   A· · · ·Actually, Tommy Whited.
21·   Q· · · ·Is shipping manager a demotion?                 21·   Q· · · ·Did you start off as plant manager?
22·   A· · · ·No.                                             22·   A· · · ·No, ma'am.
23·   Q· · · ·Okay.· Why are you now shipping manager and     23·   Q· · · ·Okay.· What did you start off as?
24·   not plant manager?                                      24·   A· · · ·Just a machine operator in the plant.
25·   A· · · ·They decided they didn't need two plant         25·   Q· · · ·Okay.· When did you -- what were you after
                                                     Page 7                                                        Page 9
·1·   managers.                                               ·1·   machine operator?
·2·   Q· · · ·Who is the other plant manager?                 ·2·   A· · · ·After machine operator, I went to shipping.
·3·   A· · · ·Keith Hall.                                     ·3·   Q· · · ·Then what?
·4·   Q· · · ·Did you receive a reduction in pay?             ·4·   A· · · ·And then from shipping, I went into
·5·   A· · · ·Yes, ma'am.                                     ·5·   scheduling, ordering material.
·6·   Q· · · ·How much was your pay reduced when you went     ·6·   Q· · · ·Then what?
·7·   from plant manager to shipping manager?                 ·7·   A· · · ·And then from that, I moved to plant
·8·   A· · · ·Twenty percent.                                 ·8·   manager.
·9·   Q· · · ·Is Keith Hall still the plant manager?          ·9·   Q· · · ·Do you recall about what year you became
10·   A· · · ·Yes, ma'am.                                     10·   plant manager?
11·   Q· · · ·How long has he been the plant manager?         11·   A· · · ·No, ma'am.· It's, I think, around 10 years,
12·   A· · · ·Since November or December of this past         12·   10, 12 years.
13·   year.                                                   13·   Q· · · ·Now, when Tommy Whited hired you initially
14·   Q· · · ·Of 2016?                                        14·   as a machine operator --
15·   A· · · ·Yes.                                            15·   A· · · ·Initially, a guy named Roger Acuff, which is
16·   Q· · · ·Who was the plant manager before that?          16·   back 40 years ago.
17·   Before he was the plant manager in November or          17·   Q· · · ·Okay.· But Mr. Whited was the one who hired
18·   December of 2016, was it just you?                      18·   you as plant manager?
19·   A· · · ·Yes, ma'am.                                     19·   A· · · ·Yes.
20·   Q· · · ·So when he became plant manager in              20·   Q· · · ·What plant did he primarily work at when he
21·   November/December of 2016, both of you were plant       21·   was --
22·   managers?                                               22·   A· · · ·The 1211 Hartsville Pike.
23·   A· · · ·Yes.                                            23·   Q· · · ·The main?
24·   Q· · · ·And then before he was plant manager, what      24·   A· · · ·Main plant.
25·   was his job title?                                      25·   Q· · · ·What was his job title?


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·1·   A· · · ·General manager.                                ·1·   A· · · ·Well, I know he got fired.· I don't know the
·2·   Q· · · ·He was general manager over both the main       ·2·   full what happened.
·3·   plant and the fulfillment center?                       ·3·   Q· · · ·What did you hear?
·4·   A· · · ·Yes, ma'am.                                     ·4·   A· · · ·Well, I mean, the -- Tommy's boss just come
·5·   Q· · · ·And the same with you, when you were plant      ·5·   in and told us he's no longer with us, and he didn't
·6·   manager, you were plant manager over both the main      ·6·   go into any of the details about why.
·7·   plant and the fulfillment center, right?                ·7·   Q· · · ·Who is his boss?
·8·   A· · · ·Not at the beginning.· Last two or              ·8·   A· · · ·Tom Pedine.
·9·   three years is when I guess he made me responsible      ·9·   Q· · · ·Have you talked to Tommy Whited since he was
10·   for both.                                               10·   let go?
11·   Q· · · ·In 2014, were you responsible for both?         11·   A· · · ·I've seen him just by passing.
12·   A· · · ·It was probably '15 when I found out that I     12·   Q· · · ·Have you ever bought any cars or appliances
13·   had responsibility.                                     13·   or anything from him?
14·   Q· · · ·Okay.· Before that, would you be required to    14·   A· · · ·No.
15·   go to the fulfillment center if Mr. Whited needed       15·   Q· · · ·When Tommy Whited was the general manager --
16·   you to or requested you come down there?                16·   right?· That's what his -- that was his job title?
17·   A· · · ·Yes.                                            17·   A· · · ·(Witness moves head up and down.)
18·   Q· · · ·Okay.· Who is your current supervisor?· I'm     18·   Q· · · ·-- did he have a bad temper?
19·   not sure if I asked you that.                           19·   A· · · ·After he told you two or three times, he
20·   A· · · ·My current supervisor now is Keith Hall.        20·   would get upset, yes.
21·   Q· · · ·Okay.· Do you supervise anyone right now?       21·   Q· · · ·What do you mean, he would get upset?· How
22·   A· · · ·Yes, ma'am.· Forklift drivers.                  22·   would he behave?
23·   Q· · · ·Are you hourly or salary?                       23·   A· · · ·I mean, he'd just raise his voice at you.
24·   A· · · ·Salary.                                         24·   Q· · · ·Would he cuss at employees?
25·   Q· · · ·When you were plant manager, what were your     25·   A· · · ·Oh, no.
                                                    Page 11                                                       Page 13
·1·   job duties?                                             ·1·   Q· · · ·You didn't witness any of that?
·2·   A· · · ·My job duties was to make -- for the plant      ·2·   A· · · ·No, ma'am.
·3·   to be successful.· And first and foremost was the       ·3·   Q· · · ·Had people complained to you about him
·4·   safety of our people.                                   ·4·   cussing at them?
·5·   Q· · · ·Anything else?                                  ·5·   A· · · ·Cussing them, no.
·6·   A· · · ·Like I said, the responsibility was to get      ·6·   Q· · · ·What about cussing in general?
·7·   our deliveries to our customers on time.                ·7·   A· · · ·Not that I'm aware of, no.
·8·   Q· · · ·Okay.· Anything else you can think of?          ·8·   Q· · · ·Did you have any employees complain to you
·9·   A· · · ·Not that I can think of.                        ·9·   just in general about Tommy Whited and how he
10·   Q· · · ·Did you have the ability to hire or fire        10·   treated them?
11·   employees?                                              11·   A· · · ·Well, no, not complain.· They would, you
12·   A· · · ·Not without my general manager's approval.      12·   know, may say something about -- about him getting
13·   Q· · · ·And that was Tommy Whited?                      13·   on to them or something.
14·   A· · · ·(Witness moves head up and down.)               14·   Q· · · ·Did you have any employees come to you and
15·   · · · · · · ·COURT REPORTER:· Excuse me?· Please        15·   talk about how he was abusive towards them?
16·   answer out loud.                                        16·   A· · · ·Abusive?
17·   · · · · · · ·THE WITNESS:· Not without general --       17·   Q· · · ·Yes.
18·   prior approval from Tommy.                              18·   A· · · ·Not in a meaningful way.
19·   BY MS. COLLINS:                                         19·   Q· · · ·What do you mean by that?
20·   Q· · · ·And I'll just remind you, just be sure to       20·   A· · · ·Well, I mean, Tommy always joked and cut up
21·   verbalize your response.                                21·   with people as people joked and cut up with him.
22·   A· · · ·It just dawned on me.· I'm sorry.               22·   Q· · · ·What do you mean by that?
23·   Q· · · ·It's okay.· It's natural.                       23·   A· · · ·Well, I mean, you know, they'd walk and talk
24·   · · · · Now, do you know what happened to Tommy         24·   to one another, and they'd make a joke, you know,
25·   Whited?                                                 25·   things of that nature.· But I've never seen him


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·1·   physically abuse anybody.                               ·1·   Q· · · ·Sure.· If Michael Kulakowski recalls you
·2·   Q· · · ·Had an employee come to you and told you        ·2·   telling him that, that you had told him that that's
·3·   that he had touched them or hit them or kicked them?    ·3·   how it was going to be if he worked out there, that
·4·   A· · · ·Yes.                                            ·4·   Tommy Whited was going to do those things to him,
·5·   Q· · · ·Tell me about that.                             ·5·   would you have a basis to dispute Michael
·6·   A· · · ·Well, it was Kulakowski.· He said that he       ·6·   Kulakowski's recollection?
·7·   had kicked him, knocked his hat off.                    ·7·   A· · · ·Not other than my word against his.
·8·   Q· · · ·Anything else?                                  ·8·   Q· · · ·Now, when he told you that he had been
·9·   A· · · ·No.                                             ·9·   kicked in the groin by the general manager of the
10·   Q· · · ·Tell me about the kicking.· What did he talk    10·   plant, Tommy Whited, did you report it to HR?
11·   about the kicking?                                      11·   A· · · ·No, ma'am.
12·   A· · · ·He just told me that, you know, Tommy had       12·   Q· · · ·Why not?
13·   kicked him.· But like I said, they joked and cut up     13·   A· · · ·Because, like I said, they joked and cut up
14·   all the time, so I didn't think it was a --             14·   all the time.
15·   Q· · · ·How did you know they joked and cut up all      15·   Q· · · ·Did Michael Kulakowski tell you that it was
16·   the time?                                               16·   a joke when Tommy Whited had kicked him in the
17·   A· · · ·Because they laughed at one another.            17·   groin?
18·   Q· · · ·Okay.· When Michael Kulakowski told you that    18·   A· · · ·No, he didn't say it was a joke.
19·   Tommy Whited had kicked him, did he say where he had    19·   Q· · · ·And you didn't personally witness it to see
20·   been kicked?                                            20·   that it was a joke, did you?
21·   A· · · ·In the groin.                                   21·   A· · · ·No.
22·   Q· · · ·Do you recall when this was?                    22·   Q· · · ·Did he say that it -- did Michael Kulakowski
23·   A· · · ·Maybe -- I don't.· I'm going to say a year      23·   tell you that it hurt?
24·   and a half ago or something, two years.                 24·   A· · · ·Yes, I'm sure he did.
25·   Q· · · ·Did he tell you that on more than one           25·   Q· · · ·And I guess that would be typical as a man,
                                                    Page 15                                                       Page 17
·1·   occasion?                                               ·1·   if you get kicked in the groin, it's going to hurt,
·2·   A· · · ·Not that I can recall, no.                      ·2·   right?
·3·   Q· · · ·You just don't know if he told you that on      ·3·   A· · · ·Yes.
·4·   more than one occasion or you're certain that he        ·4·   Q· · · ·Would you consider it to be a joke if you
·5·   didn't tell you on more than one occasion?              ·5·   got kicked in the groin?
·6·   A· · · ·No.· I just don't know.                         ·6·   A· · · ·No.
·7·   Q· · · ·Okay.· When he told you that, did you           ·7·   Q· · · ·Are you familiar with WestRock's policies?
·8·   document it in any way?                                 ·8·   A· · · ·I'm familiar with it some, yes.
·9·   A· · · ·No, ma'am.                                      ·9·   Q· · · ·Did you know that under WestRock's policies
10·   Q· · · ·Did you go talk to Tommy Whited about it?       10·   that you should have reported if another employee
11·   A· · · ·No, ma'am.                                      11·   reported an assault in the workplace?
12·   Q· · · ·What did you say to Michael Kulakowski when     12·   A· · · ·If he was serious about it, yes.
13·   he told you that?                                       13·   Q· · · ·You just didn't think that Michael
14·   A· · · ·I didn't -- I didn't say anything.              14·   Kulakowski was serious when he told you he got
15·   Q· · · ·Did you say anything to the effect of that's    15·   kicked in the groin and hurt, did you?
16·   just how it's going to be when you work here, he's      16·   A· · · ·No.
17·   going to do that to you?                                17·   Q· · · ·Why not?
18·   A· · · ·No.                                             18·   A· · · ·Because like I said, they joked and cut up
19·   Q· · · ·Anything like that?                             19·   all the time.· And I've seen them, you know, laugh
20·   A· · · ·No, ma'am.                                      20·   and joke together, and so I just didn't take it
21·   Q· · · ·So if Michael Kulakowski recalls you telling    21·   serious.
22·   him that, would you have a basis to dispute his         22·   Q· · · ·Do you wish you would have taken it
23·   recollection that you had told him that?                23·   seriously?
24·   A· · · ·Can you repeat that?· I didn't quite            24·   · · · · · · ·MS. DOHNER SMITH:· Objection.
25·   understand what you just said.                          25·   · · · · · · ·THE WITNESS:· Yes, now.


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·1·   BY MS. COLLINS:                                         ·1·   Whited?
·2·   Q· · · ·Do you think you were complying with            ·2·   A· · · ·No, ma'am.
·3·   WestRock policy when you didn't report that to HR?      ·3·   Q· · · ·Did you ever contact anyone in human
·4·   A· · · ·Like I said, I thought I was -- you know, I     ·4·   resources about Tommy Whited or his behavior?
·5·   didn't -- if I thought Kuli was in any kind of          ·5·   A· · · ·No.
·6·   danger, I would have reported it.· But I just           ·6·   Q· · · ·Why not?
·7·   thought it was just a -- they was kidding around all    ·7·   A· · · ·Obviously, a lot of his behaviors I didn't
·8·   the time, playing with one another all the time.        ·8·   know.
·9·   Q· · · ·What do you base that on?                       ·9·   Q· · · ·Were you -- when you were plant manager at
10·   A· · · ·Based it on what I -- you know, I had seen      10·   the fulfillment center, were you considered like
11·   Tommy, you know, slap his hat off and Kuli would        11·   second in command?
12·   laugh, you know, that kind of stuff.                    12·   A· · · ·Yes.
13·   Q· · · ·Other than slapping his hat off and kicking     13·   Q· · · ·Being second in command, could employees
14·   him in the groin, did you see anything else?            14·   report problems to you?
15·   A· · · ·No, ma'am.                                      15·   A· · · ·Yes.
16·   Q· · · ·Did Michael Kulakowski tell you that Tommy      16·   Q· · · ·And did you have a responsibility to address
17·   Whited had pulled out his penis?                        17·   those problems?
18·   A· · · ·No, ma'am.                                      18·   A· · · ·Yes.
19·   Q· · · ·Did Michael Kulakowski report anything to       19·   Q· · · ·Who was the HR person that was over the
20·   you about Tommy Whited grabbing him in the groin?       20·   fulfillment center or the Gallatin plant?
21·   A· · · ·I don't recall that, no, ma'am.                 21·   A· · · ·Her name is Terri Henley, but she's not on
22·   Q· · · ·Did Michael Kulakowski complain to you about    22·   site.
23·   Tommy Whited hitting him?                               23·   Q· · · ·How long has she been the HR person for
24·   A· · · ·Hitting him?                                    24·   those two facilities?
25·   Q· · · ·Yes.                                            25·   A· · · ·Maybe three or four years.
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·1·   A· · · ·He told me about it.                            ·1·   Q· · · ·Who was it before that?
·2·   Q· · · ·What did he tell you?                           ·2·   A· · · ·I don't know.
·3·   A· · · ·Just told me that, you know, Tommy had          ·3·   Q· · · ·Has -- what about Helen?
·4·   slapped his hat off, and of course I had seen it.       ·4·   A· · · ·She is our administrative assistant.
·5·   Q· · · ·Well, what else did he tell you about him       ·5·   Q· · · ·Did she handle HR functions?
·6·   slapping his hat off?                                   ·6·   A· · · ·She -- if somebody needed something from HR,
·7·   A· · · ·Nothing.                                        ·7·   she would get them numbers and that kind of stuff
·8·   Q· · · ·If he was telling you about it, did -- was      ·8·   for them to call.
·9·   he complaining about it?· Did he seem like he wanted    ·9·   Q· · · ·Are you still in touch with her?
10·   to have his hat slapped off?                            10·   A· · · ·No, ma'am.
11·   · · · · · · ·MS. DOHNER SMITH:· Objection.              11·   Q· · · ·How often would you see Terri Henley out at
12·   · · · · · · ·THE WITNESS:· I don't know.· But again,    12·   the plant?· And I'm talking about just the 2015 or
13·   I didn't think he was complaining about it. I           13·   2016 time frame.
14·   thought he was just, you know, telling me about it.     14·   A· · · ·Maybe once or twice a year.
15·   BY MS. COLLINS:                                         15·   Q· · · ·Would you see any other HR people out at the
16·   Q· · · ·What kind of hat was it?                        16·   plant?
17·   A· · · ·I'm sure it was a Tennessee hat.· He wears      17·   A· · · ·No, ma'am.
18·   Tennessee most of the time.                             18·   Q· · · ·Was there a separate management handbook
19·   Q· · · ·Would you want to have your hat slapped off     19·   that y'all had that told you how to deal with
20·   of you in the workplace?                                20·   complaints of harassment?
21·   A· · · ·No.                                             21·   A· · · ·There was just the handbook.
22·   Q· · · ·If the general manager were treating you        22·   Q· · · ·Okay.· Now, when Michael Kulakowski told you
23·   like that, what would you do?                           23·   that he had been kicked in the groin and had his hat
24·   A· · · ·I would call the hotline.                       24·   slapped off his head, did you report that to
25·   Q· · · ·Did you ever call the hotline on Tommy          25·   divisional HR?


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·1·   A· · · ·No, ma'am.                                      ·1·   Tommy Whited had asked him to suck his penis?
·2·   Q· · · ·Do you know who divisional HR is?               ·2·   A· · · ·No.
·3·   A· · · ·No, ma'am.                                      ·3·   Q· · · ·Or his dick?
·4·   Q· · · ·Have you ever had an occasion to report         ·4·   A· · · ·No, absolutely.
·5·   anything to divisional HR?                              ·5·   Q· · · ·Had Michael Kulakowski told you that he had
·6·   A· · · ·She's not there any longer, but the one --      ·6·   been slapped in the groin area numerous times by
·7·   the last one I know, her name was -- she's no longer    ·7·   Mr. Whited?
·8·   with the company neither.· I'll try to think of her     ·8·   A· · · ·As what, ma'am?
·9·   name.                                                   ·9·   Q· · · ·Been slapped in the balls, the groin area,
10·   Q· · · ·Sure, sure.· But you hadn't reported            10·   by Mr. Whited.
11·   anything to divisional HR, had you?                     11·   A· · · ·Yes.
12·   A· · · ·No, ma'am.                                      12·   Q· · · ·Okay.· Tell me about that.
13·   Q· · · ·And the person who you can't remember her       13·   A· · · ·Well, he just said, you know, he'd come by
14·   name, did you know that they were divisional HR back    14·   and walk up beside of him, look at his shoulders or
15·   in 2015 or 2016?                                        15·   something or other, and take his hand and do that
16·   A· · · ·Yes.                                            16·   (indicating).
17·   Q· · · ·How did you know that?                          17·   Q· · · ·So Michael Kulakowski told you that
18·   A· · · ·Just -- well, just by going to some of the      18·   Mr. Whited would come up and hit him in his groin?
19·   meetings I have to go to.· I met a few people, and      19·   A· · · ·Yeah.
20·   she was one of them.                                    20·   Q· · · ·When he told you that, did you report that
21·   Q· · · ·Okay.· Was it Melissa McGraw?                   21·   to divisional HR?
22·   A· · · ·Yes.· Melinda.                                  22·   A· · · ·No.
23·   Q· · · ·Melinda?                                        23·   Q· · · ·Did you report it to anyone in human
24·   A· · · ·Melinda McGraw.                                 24·   resources?
25·   Q· · · ·And you said she's no longer there?             25·   A· · · ·No.
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·1·   A· · · ·Right.                                          ·1·   Q· · · ·Did Michael Kulakowski ever tell you
·2·   Q· · · ·Had any female employees complained to you      ·2·   anything about being hit so hard he got bruised?
·3·   about Tommy Whited hitting them in the groin or         ·3·   A· · · ·No.
·4·   private parts?                                          ·4·   Q· · · ·Did Michael Kulakowski ever tell you
·5·   A· · · ·No, ma'am.                                      ·5·   anything about Tommy Whited running him down with
·6·   Q· · · ·Would Tommy Whited get angry and call you to    ·6·   his truck?
·7·   come over to the plant, the fulfillment center?         ·7·   A· · · ·No.
·8·   A· · · ·Yes.                                            ·8·   Q· · · ·Now, other than -- when Michael Kulakowski
·9·   Q· · · ·Tell me about that.                             ·9·   told you about the time that he was slapped in the
10·   A· · · ·Well -- why did he want me to come over?        10·   groin by Tommy Whited and when he was kicked in the
11·   Q· · · ·Yes.                                            11·   groin by Tommy Whited, you didn't report any of
12·   A· · · ·Because the warehouse was in a mess or          12·   those to divisional HR, right?
13·   something of that nature.                               13·   A· · · ·No.
14·   Q· · · ·Would he scream and yell at people?             14·   Q· · · ·Okay.
15·   A· · · ·Never seem him scream and yell, no.             15·   A· · · ·Like I said, they was always kidding around
16·   Q· · · ·Would he cuss?                                  16·   with one another.
17·   A· · · ·Talk loud, yes.                                 17·   Q· · · ·And that's your impression, right?
18·   Q· · · ·Okay.· So he would talk loudly.· Would he       18·   A· · · ·Yes, ma'am.
19·   cuss at people?                                         19·   Q· · · ·But you didn't actually witness it, right?
20·   A· · · ·Cuss people, no.                                20·   A· · · ·No.· I witnessed, yes, one time that they
21·   Q· · · ·At any point in time, did you tell -- did       21·   did, and they were both laughing.
22·   you see Michael Kulakowski tell Mr. Whited to stop      22·   Q· · · ·When was that?
23·   messing with him?                                       23·   A· · · ·I would say it was within the last couple of
24·   A· · · ·No.                                             24·   years.
25·   Q· · · ·Did Michael Kulakowski ever tell you that       25·   Q· · · ·What did you witness?


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·1·   A· · · ·Well, him doing just like I was talking         ·1·   A· · · ·No, ma'am.
·2·   about, walking up to him and doing this                 ·2·   Q· · · ·Now, do you recall when management came in
·3·   (indicating).                                           ·3·   and investigated Tommy Whited?
·4·   Q· · · ·Tommy Whited hitting Mr. Kulakowski --          ·4·   A· · · ·I do.
·5·   A· · · ·Yes.                                            ·5·   Q· · · ·Okay.· What do you recall about that?
·6·   Q· · · ·-- in his groin?                                ·6·   A· · · ·Not a lot.· They came and talked to a lot of
·7·   · · · · Did Mr. Kulakowski tell you that he was         ·7·   people, and I'm not sure who all they talked to.
·8·   scared to lose his job?                                 ·8·   Q· · · ·Okay.· What did you talk with them about?
·9·   A· · · ·No.                                             ·9·   A· · · ·I can't recall all the questions that they
10·   Q· · · ·So, the time that you saw Mr. Whited            10·   asked.
11·   actually hit Mr. Kulakowski in the groin, you just      11·   Q· · · ·Did they ask you specifically if -- about
12·   didn't do anything about that?                          12·   Michael Kulakowski?
13·   A· · · ·No.· Because, again, I thought they was just    13·   A· · · ·I think there was a couple of questions
14·   fooling around.· That's what they had been doing.       14·   about Kulakowski, but I don't remember what they
15·   Q· · · ·Did you ask Mr. Kulakowski separately if        15·   were.
16·   that was okay with him to be hit --                     16·   Q· · · ·Did you tell them at that time that Michael
17·   A· · · ·No, I didn't.                                   17·   Kulakowski had complained to you about Mr. Whited
18·   Q· · · ·-- in the groin by the general manager?         18·   hitting him in the groin and kicking him in the
19·   A· · · ·No, ma'am.                                      19·   groin?
20·   Q· · · ·I think you said you wouldn't think that was    20·   · · · · · · ·MS. DOHNER SMITH:· Objection.
21·   okay to have the general manager walk by and hit you    21·   · · · · · · ·THE WITNESS:· No.
22·   in the groin, right?                                    22·   BY MS. COLLINS:
23·   A· · · ·No.                                             23·   Q· · · ·Why not?
24·   Q· · · ·And Tommy Whited never kicked you or touched    24·   A· · · ·Because I only answered the questions that
25·   you in the groin area?                                  25·   they asked me, and I didn't -- I didn't know what
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·1·   A· · · ·No.                                             ·1·   they were doing.
·2·   Q· · · ·Any other part of your body?                    ·2·   Q· · · ·Were you fearful for your job?
·3·   A· · · ·No.                                             ·3·   A· · · ·Excuse me?
·4·   Q· · · ·Now, other than the two things -- the things    ·4·   Q· · · ·Were you fearful for your job?
·5·   that we've discussed, the hitting in the groin, the     ·5·   A· · · ·Maybe yes.· Some ways, yes.
·6·   kicking in the groin, and the knocking the hat off,     ·6·   Q· · · ·Are you fearful for your job today,
·7·   did Michael Kulakowski complain to you about -- or      ·7·   providing testimony?
·8·   come to you and tell you about Mr. Whited touching      ·8·   A· · · ·Yes.· I'm still fearful for my job, yes.
·9·   him in any other way?                                   ·9·   Q· · · ·Are you worried that you're going to lose
10·   A· · · ·No, ma'am.                                      10·   your job because you talk about what Tommy Whited
11·   Q· · · ·How many times did he tell you that he was      11·   did to Mr. Kulakowski?
12·   hit in the groin, Mr. Kulakowski tell you he was hit    12·   A· · · ·Not so much that, because I don't -- you
13·   in the groin?                                           13·   know, I feel like -- you know, if I thought he was
14·   A· · · ·I think once, twice.                            14·   in any kind of danger, I would have reported it.
15·   Q· · · ·How many times did he tell you he was kicked    15·   Just goes back to the demotion.· So I'm not sure.
16·   in the groin?                                           16·   Q· · · ·Do you think you were demoted in retaliation
17·   A· · · ·That's what you just asked, wasn't it?          17·   for talking to the investigators?
18·   Q· · · ·Hit.· I just said hit.                          18·   A· · · ·No.
19·   A· · · ·Both.· It was the same thing.· Once or          19·   Q· · · ·Why do you think you were demoted?
20·   twice, because I didn't...                              20·   A· · · ·Well, they just said they didn't need two
21·   Q· · · ·Did he ever tell you about being hit with a     21·   plant managers.
22·   broom handle?                                           22·   Q· · · ·Why do you think you were demoted?
23·   A· · · ·No, ma'am.                                      23·   A· · · ·I think they liked the other guy better.
24·   Q· · · ·Or being hit so hard that he fell to the        24·   Q· · · ·Is he younger?
25·   ground and lost his breath?                             25·   · · · · · · ·MS. DOHNER SMITH:· Objection.


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·1·   · · · · · · ·THE WITNESS:· Yes, he is younger.          ·1·   A· · · ·No.
·2·   BY MS. COLLINS:                                         ·2·   Q· · · ·Or anything like that?
·3·   Q· · · ·Do you think that has anything to do with       ·3·   A· · · ·No, ma'am.
·4·   it?                                                     ·4·   Q· · · ·Do you think -- have you known Tommy Whited
·5·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·5·   to carry a gun?
·6·   · · · · · · ·THE WITNESS:· No.                          ·6·   A· · · ·No.
·7·   BY MS. COLLINS:                                         ·7·   Q· · · ·Do you think he's capable of harming anyone?
·8·   Q· · · ·Why do you think they like him better?          ·8·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·9·   A· · · ·Because I think he's -- I think he's just       ·9·   · · · · · · ·THE WITNESS:· No, ma'am.
10·   got more education.                                     10·   BY MS. COLLINS:
11·   Q· · · ·Do you recall talking with Tom Pedine about     11·   Q· · · ·After he was terminated, was security
12·   the -- when they came in and investigated?              12·   brought in at the plant for a while?
13·   A· · · ·No.                                             13·   A· · · ·Yes, ma'am.
14·   Q· · · ·Okay.· Do you know who I'm talking about? I     14·   Q· · · ·What was that about?
15·   may be pronouncing --                                   15·   A· · · ·Well, we couldn't figure out why, but --
16·   A· · · ·Tom Pedine.                                     16·   because, you know, I thought I knew Tommy as well.
17·   Q· · · ·Pedine, okay.· But you didn't talk with him?    17·   But they were there -- that's the protocol for
18·   A· · · ·Before, no.                                     18·   getting rid of a GM, I guess.
19·   Q· · · ·Okay.· Have you talked with him since then?     19·   Q· · · ·Had he made any threats that you heard about
20·   A· · · ·I talked to him the day they got -- they        20·   or knew about?
21·   removed Tommy.                                          21·   A· · · ·No, ma'am.
22·   Q· · · ·Okay.· When they started the investigation,     22·   Q· · · ·Do you know who made the initial complaint
23·   did Tommy call you worked up about it?                  23·   against him before he got fired?
24·   A· · · ·No.                                             24·   A· · · ·No, ma'am.
25·   Q· · · ·Did he call you -- do you recall him calling    25·   Q· · · ·Do you know a guy named Mr. Buckmaster?
                                                    Page 31                                                       Page 33
·1·   you and asking you what's going on?                     ·1·   A· · · ·Yes.
·2·   A· · · ·No.· I don't think he knew until...             ·2·   Q· · · ·What's his first name again?
·3·   Q· · · ·Why do you think that?                          ·3·   A· · · ·Ken, Kenneth.
·4·   A· · · ·Because if he had knew something was going      ·4·   Q· · · ·Are you still in touch with him?
·5·   on, I think he would have called.                       ·5·   A· · · ·No.· I see him occasionally at the store.
·6·   Q· · · ·Do you recall telling the investigators that    ·6·   He lives in the same town I do.
·7·   you were afraid to ask for vacation for yourself or     ·7·   Q· · · ·Why did he leave WestRock?
·8·   others from Tommy Whited?                               ·8·   A· · · ·He just said that -- he came in that morning
·9·   A· · · ·I don't recall telling them that I was          ·9·   and told me that he was going to be leaving.
10·   afraid to ask for a vacation, no.                       10·   Q· · · ·Did he say anything about the way Tommy
11·   Q· · · ·Were you worried about taking vacation when     11·   Whited had treated him?
12·   Tommy Whited was your general manager?                  12·   A· · · ·No.· He just said he was tired of having to
13·   A· · · ·Wasn't worried about it.· A whole lot of it     13·   get called back in to work and working on the
14·   was my own fault for not putting in my vacation and     14·   weekends and at night.· He was getting called back
15·   taking it.                                              15·   in to work.
16·   Q· · · ·Okay.· Did it seem like a lot of employees      16·   Q· · · ·Was he getting paid overtime for working
17·   were kind of scared of Tommy Whited?                    17·   weekends and nights?
18·   A· · · ·I don't want to say scared.· I want to          18·   A· · · ·Yes, ma'am.· Get paid four hours if he comes
19·   say -- I'm trying to think of a word.· They             19·   in, if he gets called in anytime.· If it takes him
20·   respected him in a way that, you know, that they        20·   15 minutes, he still gets four hours.
21·   didn't probably want to go to him about anything. I     21·   Q· · · ·Do you recall Tommy Whited saying anything
22·   mean, you know, maybe it was afraid.                    22·   about hotline complaints would come to him if anyone
23·   Q· · · ·Do you recall him telling people that if        23·   made one?
24·   anybody reported anything, that he would know about     24·   A· · · ·No, ma'am.
25·   it?                                                     25·   Q· · · ·Or anything like that?


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·1·   A· · · ·Huh-uh.· No, ma'am.                             ·1·   Q· · · ·But you didn't call HR when Michael
·2·   Q· · · ·Did he say that supervisors reported to him,    ·2·   Kulakowski told you about Tommy Whited hitting him
·3·   Tommy Whited?                                           ·3·   and kicking him, right?
·4·   A· · · ·Yeah.· Everybody reported to Tommy.             ·4·   A· · · ·Right.· Yes.· I'll go back and say again,
·5·   Q· · · ·Even you?                                       ·5·   it's because they joked and cut up all the time and
·6·   A· · · ·Yes.                                            ·6·   it never was serious.· If I ever thought it was
·7·   Q· · · ·Did y'all give training to the employees on     ·7·   serious, I would have.
·8·   the Global Compliance hotline?                          ·8·   Q· · · ·But you didn't see the incidents happen,
·9·   A· · · ·I don't recall training.· I know that           ·9·   right?
10·   everybody was told where the numbers were posted and    10·   A· · · ·Huh-uh.
11·   all that.                                               11·   Q· · · ·All you know is that Michael Kulakowski came
12·   Q· · · ·Where were the numbers posted?                  12·   and told you about it after the fact?
13·   A· · · ·On a -- like it's a bulletin board.             13·   A· · · ·Yeah.· I seen the time that I was telling
14·   Q· · · ·At the fulfillment center?                      14·   you a while ago.
15·   A· · · ·Yes.· Both.                                     15·   Q· · · ·And you'd agree that's probably a pretty
16·   Q· · · ·Have they always been there?                    16·   hard thing to do, right?
17·   A· · · ·Yes, ma'am.                                     17·   A· · · ·I agree.
18·   Q· · · ·Other than posting it on the bulletin board,    18·   Q· · · ·Have you ever seen a Global Compliance
19·   was there any sort of regular training about sexual     19·   hotline report?
20·   harassment or how to report sexual harassment?          20·   A· · · ·I can't remember if I have or not.
21·   A· · · ·For?                                            21·   Q· · · ·Do you know who typically gets those?
22·   Q· · · ·For the employees, not management.              22·   A· · · ·No, ma'am.
23·   A· · · ·I think during some of our safety meetings      23·   Q· · · ·When Michael Kulakowski told you that he had
24·   we tried to cover some of that, yes.                    24·   been hit and kicked in the groin, did you tell him
25·   Q· · · ·Okay.· Is that documented anywhere that you     25·   to call the Global Compliance hotline?
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·1·   know of?                                                ·1·   A· · · ·I did not.
·2·   A· · · ·Should be, but I'm not sure.                    ·2·   Q· · · ·Did you have any communication with any EEOC
·3·   Q· · · ·Okay.· Is there a safety manager?               ·3·   investigators?
·4·   A· · · ·Yes.· We've had several.                        ·4·   A· · · ·With who, ma'am?
·5·   Q· · · ·Who was the safety manager in 2016?             ·5·   Q· · · ·Any EEOC investigators.· Not WestRock
·6·   A· · · ·Lana Potts.                                     ·6·   employees, but outside employees -- outside people,
·7·   Q· · · ·Did she quit?                                   ·7·   federal investigators?
·8·   A· · · ·Yes.                                            ·8·   A· · · ·Mary.
·9·   Q· · · ·Okay.· Have you seen her since she quit?        ·9·   · · · · · · ·MS. DOHNER SMITH:· I'm not a federal
10·   A· · · ·No, ma'am.                                      10·   investigator.
11·   Q· · · ·Now, if an employee had a problem at work       11·   BY MS. COLLINS:
12·   when you were the plant manager, it was okay,           12·   Q· · · ·If you don't remember it, then that's fine.
13·   pursuant to policy, for them to report that problem     13·   A· · · ·No.· No, ma'am.
14·   to you, right?                                          14·   Q· · · ·Do you know if anyone else has made claims
15·   A· · · ·Yes.                                            15·   or complaints against Tommy Whited?
16·   Q· · · ·And if an employee reported a problem to        16·   A· · · ·Not that I'm aware of.
17·   you, what were you then supposed to do?                 17·   Q· · · ·Have you heard of anybody else making
18·   A· · · ·Get ahold of -- unless -- I would get ahold     18·   complaints against him?
19·   of my general manager, is who I reported to.            19·   A· · · ·No, ma'am.
20·   Q· · · ·And that was Tommy Whited?                      20·   Q· · · ·Did any other employees tell you that he had
21·   A· · · ·Yes.                                            21·   hit them or kicked them in the groin?
22·   Q· · · ·And if Tommy Whited was the problem, what       22·   A· · · ·None that I can recall.
23·   did you do?                                             23·   Q· · · ·You don't owe Tommy Whited any money, do
24·   A· · · ·Obviously, if it was something serious, I       24·   you?
25·   would call HR.                                          25·   A· · · ·No.


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·1·   Q· · · ·Do you recall cutting back on Michael           ·1·   A· · · ·No.
·2·   Kulakowski's overtime?                                  ·2·   Q· · · ·What did you do to prepare for your
·3·   A· · · ·Yes, I have.                                    ·3·   deposition today?
·4·   Q· · · ·Okay.· Tell me about that.                      ·4·   A· · · ·I talked to Mary.
·5·   A· · · ·Well, I mean, you know, we was low on work,     ·5·   Q· · · ·Okay.· Did you look at any documents?
·6·   so I told him let's all keep it at 40 hours a week.     ·6·   A· · · ·Do what, ma'am?
·7·   Q· · · ·Do you recall when that was?                    ·7·   Q· · · ·Did you look at any documents?
·8·   A· · · ·No, ma'am.                                      ·8·   A· · · ·Yes.
·9·   Q· · · ·Was it after Tommy Whited was terminated?       ·9·   Q· · · ·Okay.· Do you recall what documents you
10·   A· · · ·I don't think I have since then, no.            10·   looked at?
11·   Q· · · ·Do you recall Michael Kulakowski coming and     11·   · · · · · · ·MS. DOHNER SMITH:· I'm going to object,
12·   talking to you about wanting to go back to work         12·   because the documents that I show him are my mental
13·   overtime?                                               13·   impression of what I think may come up or be
14·   A· · · ·He's asked me about working -- coming in        14·   important during the deposition.· So if you want to
15·   early.                                                  15·   ask about documents outside of my conversation,
16·   Q· · · ·What do you recall about that?                  16·   that's fine.
17·   A· · · ·Well, I mean, he's asked me, he said, you       17·   BY MS. COLLINS:
18·   know, he needs the extra time, could he come in.        18·   Q· · · ·What documents did you look at to prepare
19·   Q· · · ·Okay.· Do you recall when that was?             19·   for your deposition today?
20·   A· · · ·Seems like it's just been within the last       20·   · · · · · · ·MS. DOHNER SMITH:· And I'm going to
21·   six or eight months or something.                       21·   instruct you not to answer if it was something that
22·   Q· · · ·Was that when you were still plant manager?     22·   I showed you during our prep session.· Anything else
23·   A· · · ·Yes.                                            23·   you looked at on your own is fine to answer.
24·   Q· · · ·Do you recall Jerry Harville complaining to     24·   · · · · · · ·THE WITNESS:· One of the things was the
25·   you about Mr. Whited hitting him or kicking him?        25·   handbook.
                                                    Page 39                                                       Page 41
·1·   A· · · ·No, ma'am.                                      ·1·   BY MS. COLLINS:
·2·   Q· · · ·Are you responsible for any hiring?             ·2·   Q· · · ·Okay.· Anything else?
·3·   A· · · ·At the present time?                            ·3·   A· · · ·Other than directions how to get here.
·4·   Q· · · ·When you were plant manager.                    ·4·   Q· · · ·Okay.· Do you recall telling Mr. Kulakowski
·5·   A· · · ·Responsible for trying to keep the people in    ·5·   that he needed to talk to Helen Kendall and that she
·6·   there to -- to have the right pool of people, I was     ·6·   was HR?
·7·   responsible.                                            ·7·   A· · · ·I can't recall it.· I'm not sure.
·8·   Q· · · ·What about actually hiring them?                ·8·   Q· · · ·So you just don't know if you directly would
·9·   A· · · ·Not without Tommy's approval.                   ·9·   have told Michael Kulakowski that Helen Kendall was
10·   Q· · · ·Do you know if y'all have hired people out      10·   HR, right?
11·   there with felonies?                                    11·   · · · · · · ·MS. DOHNER SMITH:· Objection.
12·   A· · · ·Not that I'm aware of.                          12·   · · · · · · ·THE WITNESS:· I may have told him that,
13·   Q· · · ·Do you know if WestRock has a policy for or     13·   I don't know.· Like I said, she got some HR numbers
14·   against that?                                           14·   and that kind of stuff together and since we didn't
15·   A· · · ·They were against that.                         15·   see any HR, I thought maybe she might be -- put him
16·   Q· · · ·What do you mean by were?                       16·   in touch with HR.
17·   A· · · ·Well, I assume they still are.                  17·   BY MS. COLLINS:
18·   Q· · · ·Oh, okay.· You just don't know for sure?        18·   Q· · · ·Okay.· How long have you known about the
19·   A· · · ·Right.                                          19·   compliance hotline for WestRock?
20·   Q· · · ·Have you ever seen a written policy about       20·   A· · · ·Oh, Lord.· Probably 15 years or so, I guess.
21·   that?                                                   21·   Q· · · ·Have you ever used it?
22·   A· · · ·I can't recall.                                 22·   A· · · ·No, ma'am.
23·   Q· · · ·Okay.· Have you ever heard of an employee       23·   Q· · · ·I think I asked you that already.
24·   being fired because of a felony or because y'all        24·   · · · · Were you responsible for handing out updated
25·   found out they had a felony?                            25·   employee handbooks to the employees?


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·1·   A· · · ·No.                                             ·1·   Q· · · ·Do you recall Mr. Kulakowski telling you
·2·   Q· · · ·Who would have been responsible for that?       ·2·   that he was sick of the way he was being treated by
·3·   A· · · ·That should be an HR function, I would          ·3·   Mr. Whited?
·4·   think.                                                  ·4·   A· · · ·Yes.
·5·   Q· · · ·But do you know who would have done that?       ·5·   Q· · · ·What do you recall about that?
·6·   A· · · ·No.                                             ·6·   A· · · ·Well, I mean, just made the statement that
·7·   Q· · · ·Do you have any knowledge about that?           ·7·   you just made.
·8·   A· · · ·About who would hand them out?                  ·8·   Q· · · ·He was sick of the way he was being treated?
·9·   Q· · · ·Yes.                                            ·9·   A· · · ·Yes.
10·   A· · · ·No, ma'am.                                      10·   Q· · · ·By Mr. Whited?
11·   Q· · · ·When you got an updated employee handbook,      11·   A· · · ·Yes.
12·   did you just sign an acknowledgment form saying you     12·   Q· · · ·And what did you say to him?
13·   received it?· Or how did that go down?                  13·   A· · · ·I didn't -- I don't recall what my reply
14·   A· · · ·Yes.                                            14·   was.
15·   Q· · · ·But would you have to go through it at the      15·   Q· · · ·Did you report that to HR?
16·   time and look at it and then sign the form or would     16·   A· · · ·No.· Seemed like it was one of those times
17·   you just sign the form and go on your way?              17·   that Tommy had gotten on to him about the shape that
18·   A· · · ·You would have time to go through it and        18·   the warehouse was in or something of that nature.
19·   then sign it and take the signed copy back.             19·   Q· · · ·Do you recall Mr. Whited making comments to
20·   Q· · · ·Was that the same with the floor employees?     20·   Mr. Kulakowski that he was a stupid Polak or
21·   A· · · ·The what?                                       21·   anything like that?
22·   Q· · · ·The employees on the manufacturing floor,       22·   A· · · ·I recall hearing that.· I'm not sure that
23·   not management employees.                               23·   Tommy said it.· I can't remember who said it, but I
24·   A· · · ·Yes.                                            24·   remember -- when you said Polak, I remember that.
25·   Q· · · ·Did you -- as management, did management        25·   But I don't recall who said it.
                                                    Page 43                                                       Page 45
·1·   receive any annual HR -- I mean, annual harassment      ·1·   Q· · · ·Do you recall Mr. Kulakowski complaining to
·2·   training?                                               ·2·   you about Tommy Whited drop kicking him?
·3·   A· · · ·Yes.                                            ·3·   A· · · ·Yes.· That one time.· When you say drop
·4·   Q· · · ·Tell me about that.                             ·4·   kicking, I assume hitting him in the groin with his
·5·   A· · · ·It was just done by computer.                   ·5·   foot.
·6·   Q· · · ·Okay.· So you would do like a computer test?    ·6·   Q· · · ·Did Mr. Kulakowski tell you about Tommy
·7·   A· · · ·Yes, ma'am.                                     ·7·   Whited -- or Tommy Whited pulling a pistol out after
·8·   Q· · · ·Okay.· Do you recall Michael Kulakowski         ·8·   he was terminated and showing it to him?
·9·   telling you that he wanted Tommy Whited to quit         ·9·   A· · · ·No, ma'am.
10·   messing with him, quit hitting him and kicking him?     10·   Q· · · ·You just don't recall anything about that?
11·   A· · · ·No, ma'am.                                      11·   A· · · ·No, I don't know -- no, he didn't tell me.
12·   Q· · · ·Or anything like that?                          12·   Q· · · ·Were you disciplined for not reporting Tommy
13·   A· · · ·No, ma'am.                                      13·   Whited's behavior toward Mr. Kulakowski?
14·   Q· · · ·You just don't recall it or you know --         14·   A· · · ·No.
15·   · · · · · · ·(Overlapping speech.)                      15·   Q· · · ·Are there any cameras in the workplace at
16·   A· · · ·I don't recall.                                 16·   the fulfillment center?
17·   Q· · · ·Okay.· And do you recall anything about you     17·   A· · · ·There used to be, yes.
18·   saying, as long as you work here, he's going to do      18·   Q· · · ·When did they get rid of them?
19·   things to you?                                          19·   A· · · ·I think they're still there.
20·   A· · · ·No.                                             20·   Q· · · ·Do y'all record stuff?
21·   Q· · · ·You just don't recall it or it didn't           21·   A· · · ·I think they record so long and then they go
22·   happen?                                                 22·   over and over again.
23·   A· · · ·I didn't say it.                                23·   Q· · · ·Oh, okay.· They record over it?
24·   Q· · · ·Or anything like that?                          24·   A· · · ·Yeah.
25·   A· · · ·No, ma'am.                                      25·   Q· · · ·Okay.


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·1·   · · · · · · ·MS. COLLINS:· Let's go off the record      ·1·   Conduct and Ethics policy is "threatening another
·2·   for a second.                                           ·2·   individual with bodily harm or assaulting another
·3·   · · · · · · ·(Recess observed.)                         ·3·   individual at any time while on company property
·4·   BY MS. COLLINS:                                         ·4·   during working hours or while engaged in company
·5·   Q· · · ·Mr. Eden, do you remember Jerry Harville        ·5·   business."
·6·   telling you that his next step would be to go out       ·6·   · · · · Would hitting another employee in the groin
·7·   the door because Mr. Whited was a bully and he's        ·7·   violate that part of the policy?
·8·   intimidating to people?                                 ·8·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·9·   A· · · ·Did you say being a bully?                      ·9·   · · · · · · ·THE WITNESS:· If they were meaningful
10·   Q· · · ·He's a bully.· He bullies people and he's       10·   with it, I would say yes.
11·   intimidating people.                                    11·   BY MS. COLLINS:
12·   A· · · ·I don't recall that, no.                        12·   Q· · · ·Okay.· Would kicking another employee in the
13·   Q· · · ·Or anything like that?                          13·   groin violate that part of the policy?
14·   A· · · ·You know, they've come to me complaining        14·   · · · · · · ·MS. DOHNER SMITH:· Objection.
15·   because he'd gotten on to them, and then he -- but      15·   · · · · · · ·THE WITNESS:· Like I said, if they
16·   that was it.                                            16·   weren't joking and kidding, yes.
17·   Q· · · ·Okay.· Do you remember an employee named        17·   BY MS. COLLINS:
18·   Yohanna (phonetic) or Johanna?                          18·   Q· · · ·Okay.· And a little bit, about five down
19·   A· · · ·Johanna.                                        19·   from there, it says "fighting, horseplay, practical
20·   Q· · · ·Johanna?                                        20·   jokes or pranks while at the work site or engaged in
21·   A· · · ·Yes, ma'am.                                     21·   company business" violate this Code of Business
22·   Q· · · ·Okay.· What was her job?                        22·   Conduct and Ethics?
23·   A· · · ·She was a customer service.                     23·   A· · · ·Yes.
24·   Q· · · ·Did she quit?                                   24·   Q· · · ·Would those two things, hitting another
25·   A· · · ·She turned in her time, yes.                    25·   employee or kicking another employee in the groin
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·1·   Q· · · ·What do you mean, turned in her time?· She      ·1·   constitute fighting, horseplay, practical jokes or
·2·   quit?                                                   ·2·   pranks while at the work site?
·3·   A· · · ·Yes.                                            ·3·   A· · · ·Yes.
·4·   Q· · · ·Was she an employee of WestRock?                ·4·   Q· · · ·Now if you could turn to Page 11.· And down
·5·   A· · · ·Yes.                                            ·5·   at the bottom of the page, it's got -- it has a
·6·   Q· · · ·Did she ever complain about you -- to you       ·6·   header that says, "Employees who believe they have
·7·   about Mr. Whited?                                       ·7·   been harassed must take the following immediate
·8·   A· · · ·No.                                             ·8·   action."· And the third one says, "If an employee
·9·   Q· · · ·Before Mr. Whited was terminated, would it      ·9·   makes a complaint regarding harassment to a
10·   be fair to say that you were stressed and               10·   supervisor or manager, then the supervisor or
11·   overworked?                                             11·   manager is required to notify his or her divisional
12·   A· · · ·Yes.· It would be fair to say, yes.             12·   HR Director, along with his or her local human
13·   Q· · · ·Do you feel like Mr. Whited wanted to make      13·   resources representative or senior management, if
14·   the employees feel bad sometimes?                       14·   applicable."
15·   A· · · ·Yes.                                            15·   · · · · Now, did you do that with respect to
16·   Q· · · ·If you could turn to -- in this book here,      16·   anything that Michael Kulakowski told you about
17·   there's an Exhibit Number 4.                            17·   Tommy Whited hitting him and slapping him and
18·   · · · · · · ·(Presented Exhibit No. 4.)                 18·   kicking him?
19·   BY MS. COLLINS:                                         19·   A· · · ·No.· Because I didn't think what he was
20·   Q· · · ·If you could turn to Page 8.· And this is --    20·   telling me was a complaint.
21·   have you seen this policy before?                       21·   Q· · · ·Okay.· If you could turn to the next page on
22·   A· · · ·(Reviewing document.)                           22·   Page 12.· And down at the bottom half of the page in
23·   · · · · Seems like I have, yes.                         23·   the Anti-violence section, in the third paragraph it
24·   Q· · · ·Now, I guess about midway down, one of the      24·   states, "If an employee is threatened, witnesses or
25·   infractions listed under this Code of Business          25·   overhears a threat of bodily harm, he/she must


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·1·   report it directly to a supervisor or manager."         ·1·   when there's overtime work that's needed, correct?
·2·   · · · · When Mr. Kulakowski came and told you about     ·2·   A· · · ·Yes.
·3·   being hit and kicked, did you report it to anyone       ·3·   Q· · · ·Okay.· Was Mr. Kulakowski the only person
·4·   else?                                                   ·4·   that was told to cut back on his overtime?
·5·   A· · · ·No.· Because, again, I didn't think he was      ·5·   A· · · ·No.
·6·   meaningful.                                             ·6·   Q· · · ·So, other employees were told they had to
·7·   Q· · · ·And that was even though you knew that it       ·7·   limit their overtime as well?
·8·   was difficult for Mr. Kulakowski to tell you about      ·8·   A· · · ·Yes.
·9·   that, right?                                            ·9·   Q· · · ·Earlier you were asked if you recall whether
10·   A· · · ·Could you repeat that?                          10·   or not Mr. Kulakowski told you he wanted -- I can't
11·   Q· · · ·And that was even though -- I think you         11·   read my own writing -- whether or not Mr. Kulakowski
12·   testified earlier that it was probably difficult for    12·   told you he wanted Tommy to quit hitting him.· Did
13·   Mr. Kulakowski to tell you about those things,          13·   that -- and you said you didn't recall that event.
14·   right?                                                  14·   Do you remember that didn't happen or you can't
15·   A· · · ·Yes.                                            15·   recall if it happened?
16·   Q· · · ·And even though you didn't actually witness     16·   A· · · ·Just don't recall it.
17·   it to see if it was a joke, right?                      17·   Q· · · ·Okay.· So you don't recall any conversation
18·   A· · · ·Right.                                          18·   like that whatsoever?
19·   Q· · · ·Okay.                                           19·   A· · · ·No.
20·   · · · · · · ·MS. COLLINS:· All right.· I believe        20·   Q· · · ·Okay.· You indicated you recalled
21·   that's all I have.                                      21·   Mr. Kulakowski coming to you and making a statement
22·   · · · · · · ·MS. DOHNER SMITH:· I may have a couple.    22·   he was sick of the way he was being treated by Tommy
23·   · · · · · · · · E X A M I N A T I O N                   23·   Whited.· Was that in relation to Tommy getting on
24·   BY MS. DOHNER SMITH:                                    24·   him about something in the warehouse or was that in
25·   Q· · · ·Mr. Eden, earlier when you were talking         25·   relation to kicking and hitting?
                                                    Page 51                                                       Page 53
·1·   about Mr. Whited hitting Mr. Kulakowski in the          ·1·   · · · · · · ·MS. COLLINS:· Objection to form.
·2·   groin, you had made a gesture with your hand.· The      ·2·   · · · · · · ·THE WITNESS:· Well, it was at the time
·3·   court reporter can't get down on the record what        ·3·   he had gotten on to him about something.· That's
·4·   your gesture looked like.· Could you explain in         ·4·   usually when I hear complaints, after he gets on to
·5·   verbal words what the hand gesture you were making      ·5·   him.
·6·   was?                                                    ·6·   BY MS. DOHNER SMITH:
·7·   A· · · ·He stood beside him, and then put his hands     ·7·   Q· · · ·What do you mean, gets on to him?
·8·   down to his side, and just flipped his hand back.       ·8·   A· · · ·Gets on to him because the warehouse is in a
·9·   Q· · · ·So, it wasn't like he was -- had a fist and     ·9·   mess.
10·   was punching him with force in the groin?               10·   Q· · · ·So like demanding that they do a better job
11·   A· · · ·No.· It was just a flip back.                   11·   or --
12·   Q· · · ·More like a tap or little slap?                 12·   A· · · ·Yes.· He wants them, yes, to keep the
13·   A· · · ·Yes.                                            13·   warehouse clean and neat.
14·   Q· · · ·Okay.· Nothing with a lot of force?             14·   Q· · · ·Okay.· Did Mr. Kulakowski ever tell you that
15·   A· · · ·Correct.                                        15·   he believed he was being harassed, sexually harassed
16·   Q· · · ·I think you testified that you saw that         16·   by Mr. Whited?
17·   happen one time in the last couple of years.· Was       17·   A· · · ·No.
18·   Mr. Kulakowski laughing at the time?                    18·   Q· · · ·Did Mr. Kulakowski ever tell you that he
19·   A· · · ·Yeah.· They both were.                          19·   wanted you to make a report on his behalf?
20·   Q· · · ·Okay.· So there wasn't anything out of that     20·   A· · · ·No.
21·   situation that made you think that Mr. Kulakowski       21·   · · · · · · ·MS. DOHNER SMITH:· I think that's it.
22·   was hurt or in distress in any way?                     22·   · · · · · · · · E X A M I N A T I O N
23·   A· · · ·No.                                             23·   BY MS. COLLINS:
24·   Q· · · ·Okay.· When it comes to working overtime at     24·   Q· · · ·You were asked a question about -- and I
25·   the company, you only have employees work overtime      25·   think it was characterized as a tap or a slap when


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·1·   Mr. Kulakowski was hit in the groin.· You actually          ·1· · · · · · · · · · · ·E R R A T A
                                                                  ·2
·2·   witnessed that, correct?
                                                                  ·3· · · ·I, LARRY LLOYD EDEN, having read the
·3·   A· · · ·Yes.
                                                                  · · foregoing deposition, Pages 1 through 54, taken
·4·   Q· · · ·And even a tap or a slap in a male groin
                                                                  ·4· November 9, 2017, do hereby certify said
·5·   hurts, right?                                               · · testimony is a true and accurate transcript,
·6·   A· · · ·Yes, it could.                                      ·5· with the following changes, if any:
·7·   Q· · · ·Are you glad Mr. Whited is no longer working        ·6· PAGE· · LINE· · · SHOULD HAVE BEEN
·8·   there?                                                      ·7· _____· ·_____· · ·______________________________
·9·   A· · · ·Yes.                                                ·8· _____· ·_____· · ·______________________________

10·   Q· · · ·Do you think it's appropriate to tap or slap        ·9· _____· ·_____· · ·______________________________
                                                                  10· _____· ·_____· · ·______________________________
11·   another man in the groin in the workplace?
                                                                  11· _____· ·_____· · ·______________________________
12·   A· · · ·No.
                                                                  12· _____· ·_____· · ·______________________________
13·   · · · · · · ·MS. COLLINS:· That's all I have.               13· _____· ·_____· · ·______________________________
14·   · · · · · · ·FURTHER DEPONENT SAITH NOT.                    14· _____· ·_____· · ·______________________________
15·   · · · · · · ·(Proceedings concluded at 2:30 p.m.)           15· _____· ·_____· · ·______________________________
16                                                                16· _____· ·_____· · ·______________________________
17                                                                17
18                                                                18· · · · · · ·______________________________
                                                                  19· · · · · · · · · · LARRY LLOYD EDEN
19
                                                                  20
20
                                                                  21
21                                                                22· ____________________________
22                                                                · · · · · Notary Public
23                                                                23· My commission expires:· _____________
24                                                                24
25                                                                25

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·1· · · · · · · · ·REPORTER'S CERTIFICATE
·2
·3· · · · · · · ·I, Jerri L. Porter, RPR, CRR, Notary
·4· Public and Court Reporter, do hereby certify that I
·5· recorded to the best of my skill and ability by
·6· machine shorthand all the proceedings in the
·7· foregoing transcript, and that said transcript is a
·8· true, accurate, and complete transcript to the best
·9· of my ability.
10· · · · · · · ·I further certify that I am not an
11· attorney or counsel of any of the parties, nor a
12· relative or employee of any attorney or counsel
13· connected with the action, nor financially
14· interested in the action.
15· · · · · · · ·SIGNED this 21st day of November, 2017.
16
17
18
19
20· · · · · · · ·____________________________________
21· · · · · · · · · · Jerri L. Porter, RPR, CRR
22· My Notary commission expires:· 2/19/2018
23· Tennessee LCR No. 335
· · Expires:· 6/30/2018
24
25



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